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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


UNITED STATES OF AMERICA       :
                               :
                               :
v.                             :            Case No.: 8:24-CR-276-VMC-UAM
                               :
                               :
BROCK DAVID FISCHER            :
_______________________________:

                 DEFENDANT BROCK DAVID FISCHER’S
               UNOPPOSED MOTION TO CONTINUE TRIAL

      COMES NOW, the Defendant, BROCK DAVID FISCHER, by and through

his undersigned counsel, and hereby files this his unopposed motion to cancel the

August 15, 2024 status conference, reset the Defendant’s status conference for

November of 2024, and continue the trial term to the December 2024 term, and in

support states as follows:

      1.     The Defendant is scheduled for trial on September 3, 2024.

      2.     Undersigned counsel filed his notice of appearance on July 8, 2024.

      3.     Undersigned counsel requires additional time to analyze the discovery

             and then prepare a case analysis for the Defendant’s review and

             consideration.
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     4.    Undersigned will next analyze and prepare a federal sentencing

           guidelines and statutory penalty analysis for the Defendant’s review

           and consideration.

     5.    The Defendant does not oppose this motion.

     6.    Undesigned counsel and counsel for the government conferenced on

           August 7, 2024, and the government does not object to this motion.




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                           MEMORANDUM OF LAW

      Middle District of Florida Local Rule 3.09 generally prohibits counsel from

stipulating to a continuance of a trial term. However, Local Rule 3.09 does provide

that the district court may grant such request for good cause.

      In the United States v. Uri Ammar, Eleventh Circuit Court of Appeals Case

Number 13-12044, the Eleventh Circuit Court of Appeals ruled continuance

motions were guided language of the Speedy Trial Act and the Supreme Court of

the United States’ interpretation of that language in Zedner v. United States, 547

U.S. 489, 126 S. Ct. 1976 (2006). The Speedy Trial Act states a delay resulting

from a continuance either by the district court or at the request of a party is

excludable from the 70-day period if the trial court puts on the record its reasons

for finding that the ends of justice are served by the granting of a continuance

outweigh the public’s and defendant’s interests in a speedy trial. Id. Zedner makes

clear that the findings must be expressly made on the record. Additionally,

Zedner held that the government and a defendant may not simply agree to a

continuance and thus waive the Act’s 70-day requirement without the above

finding by a district court. Hence, a district court’s finding that a continuance is

justified solely because the parties agreed to the continuance is not a proper ends-

of-justice finding.



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      Therefore, in this matter, this Honorable Court should rule that the ends of

justice are served by granting a continuance of the Defendant’s trial because an end

of justice finding outweighs the public and the defendant’s interest in a speedy

trial. For the foregoing reasons, the undersigned respectfully suggests that good

cause has been shown and requests a continuance of trial.




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                                CONCLUSION

      WHEREFORE, the Defendant, BROCK DAVID FISCHER, by and through

his undersigned counsel prays this Honorable Court will grant the requested relief

and/or any other relief deemed necessary.

                                                  Respectfully submitted,

                                                  By: /s/ Mark J. O'Brien
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY on August 8, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will then send

notice of electronic filing to all counsel of record.

                                                        By: /s/ Mark J. O'Brien
                                                        Mark J. O'Brien, Esquire




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